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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA


EBONY ROBERTS, ROZZIE SCOTT,
LATASHA COOK and ROBERT LEVI,
                                                                    Case No.
       Plaintiffs,

v.                                                               COMPLAINT

ROBERT J. BLACK, in his individual and
official capacities, and BOGALUSA CITY                          CLASS ACTION
COURT,

       Defendants.


                           I.         PRELIMINARY STATEMENT

       1.      Defendants Judge Robert J. Black (“Black”) and the Bogalusa City Court (“City

Court”) operate a modern-day debtors’ prison, jailing the poor for their failure to pay. Defendant

Black routinely orders individuals to jail for non-payment of monetary penalties for minor traffic

and misdemeanor offenses without inquiring into the reason for non-payment.

       2.      The City Court is funded off the backs of the poor. It substantially relies on the

court costs and fees it collects from criminal defendants. The City Court routinely covers at least

15% of its expenditures through income it generates from criminal defendants. This structural

conflict of interest creates an incentive for Defendant Black to find individuals guilty and to

coerce payment through the threat of jail.       Without this money, the City Court could not

function.

       3.      This incentive is exemplified through Defendant Black’s creation of a $50

“extension fee” to raise additional money to operate the City Court. This extension fee is not

authorized by state law.        However, Defendant Black gives individuals unable to pay their
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monetary penalties in full a false choice: they may either go to jail for non-payment of fines and

costs or pay this illegal $50 extension fee to buy additional time to pay their monetary penalty.

       4.      Plaintiffs Rozzie Scott (“Scott”) and Ebony Roberts (“Roberts”) fear they will be

incarcerated for non-payment, forced to make an illegal payment, and deprived of due process by

having their cases decided by a biased judge at their upcoming court hearings. Neither has the

ability to pay the hundreds of dollars in fines and costs they owe the City Court.

       5.      Plaintiffs Scott, Roberts, Latasha Cook (“Cook”), and Robert Levi (“Levi”) were

previously victimized by this funding system and were forced to accept the false choice of

paying the illegal $50 extension fee to avoid being jailed. Each of these Plaintiffs paid the City

Court $50 to purchase their freedom.

       6.      Defendants’ unconstitutional practices have affected, and will continue to affect,

hundreds of low-income people with citations for traffic tickets or misdemeanor violations in the

City of Bogalusa, Louisiana. Plaintiffs bring these claims on behalf of themselves and all others

similarly situated to seek a declaration that Defendants’ practices are unconstitutional, to seek an

injunction to enjoin them from continuing these practices, and to seek damages to recover the

illegal extension fee for those who paid it in the past year.

                           II.       JURISDICTION AND VENUE

       7.      The Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 (federal

question jurisdiction).

       8.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) because a substantial part of

the events and omissions giving rise to Plaintiffs’ claims occurred in this District.




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                                      III.      PARTIES

       A.      Plaintiffs

       9.      Plaintiff Ebony Roberts is a resident of Bogalusa, Louisiana.

       10.     Plaintiff Rozzie Scott is a resident of Bogalusa, Louisiana.

       11.     Plaintiff Latasha Cook is a resident of Bogalusa, Louisiana.

       12.     Plaintiff Robert Levi is a resident of Bogalusa, Louisiana.

       B.      Defendants

       13.     Defendant Robert J. Black is the sole judge who sits on the Bogalusa City Court

in Bogalusa, Louisiana. He is sued in his individual and official capacities.

       14.     Defendant Bogalusa City Court is a government entity located in Bogalusa,

Louisiana.

                             IV.       STATEMENT OF FACTS

       A.      Defendant Black Oversees and Administers the Bogalusa City Court.

       15.     Bogalusa is a town of about 12,000 people located in Washington Parish,

Louisiana, approximately 1.5 hours north of New Orleans, Louisiana. The town’s economy

centers on the lumber and paper mills. Nearly 36% of the population in Bogalusa lives below the

poverty line. The median household income was $25,036 in 2015, less than half of the median

household income in the United States.

       16.     The City Court is authorized to hear cases involving city ordinance violations,

including traffic tickets and misdemeanors, which are committed within Ward Four of

Washington Parish. Defendant Black is the only judge who sits on the City Court.

       17.     Defendant Black is elected to his position as judge of the City Court.

       18.     Defendant Black is authorized to appoint and remove clerks and deputy clerks for




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the City Court.

       19.        Defendant Black possesses administrative, executive, and judicial powers over the

City Court.   In his administrative capacity, Defendant Black is responsible for the orderly

administration of the City Court. In his executive capacity, Defendant Black is responsible for

the City Court’s finances, including creating a budget for the City Court and ensuring the City

Court has sufficient funds to pay employee salaries and the City Court’s overhead expenses.

Finally, in his judicial capacity, Defendant Black is responsible for impartially adjudicating

municipal and misdemeanor cases before the City Court.

       20.        Defendant Black is authorized to create policies and rules for the conduct of

judicial business before the City Court. This power includes practices with regard to the City

Court’s collection of fines and court costs.

       B.         The Bogalusa City Court Systematically Jails and Threatens to Jail
                  Individuals Who Cannot Pay Fines and Court Costs that Fund the City
                  Court.

       21.        The Bogalusa City Court typically conducts criminal proceedings once per week,

on Monday mornings and afternoons.

       22.        On behalf of the City Court, Defendant Black imposes a jail sentence against the

majority of individuals who plead guilty or are found guilty after trial. However, he suspends

most sentences on the condition that the individual pay fines and court costs. A suspended jail

sentence is commonly referred to as “default time.”

       23.        If an individual cannot pay the fine and court costs in full on the sentencing date,

Defendant Black orders the individual to return to the City Court by their “pay date.” The pay

date functions as the deadline by which Defendant Black expects the individual to pay the fines

and court costs.




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          24.    The City Court does not accept partial payments or allow an individual to make

payments on an installment plan. Any monetary obligation to the City Court must be paid in

full.

          25.    During both the sentencing proceeding and subsequent pay date proceeding,

Defendant Black does not inquire into the reasons for non-payment if an individual failed to pay

the fines and court costs. Nor does he distinguish between those individuals who willfully refuse

to pay and those who cannot pay due to their indigence.

          26.    Neither Defendant Black nor anyone acting on behalf of the City Court provides

or appoints counsel to persons appearing at pay date proceedings.

          27.    Neither Defendant Black nor anyone acting on behalf of the City Court provides

notice in advance of the pay date proceedings that the person’s ability to pay will be a critical

issue at the hearing if they are unable to pay, or provides the individual during or before the

hearing with a form (or its equivalent) designed to elicit information about the individual’s

financial circumstances.

          28.    When a person appears at a pay date and does not have the money to pay the

monetary penalty, Defendant Black often allows some individuals to pay a $50 “extension fee”

to purchase their freedom and be permitted additional time to pay their monetary penalty.1

          29.    Defendant Black instructs those who cannot afford the $50 “extension fee” or

who are not given that option to sit in seats at the front of the courtroom for the remainder of the

court session.

          30.    A City Court marshal generally allows individuals to leave the courtroom to make



1
    This extension fee is described in greater detail at Paragraphs 51 through 58.




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phone calls to family and friends to try to arrange for payment while court remains in session. A

marshal escorts out of the courtroom those individuals permitted to make phone calls to arrange

for payment. The marshal stands by the individual while he or she attempts to contact family,

friends, or co-workers to explain that he or she will be arrested and jailed if the fines and court

costs are not paid by the end of the court session. If family, friends, or co-workers bring money

to pay the fines and court costs to the courthouse before the end of the court session, the

individual is allowed to pay and to leave.

       31.     At the end of the court session, the marshal walks those who could not pay down

the courthouse steps and to the jail in an adjacent building, and books them into the City jail.

Sometimes the marshal does this by handcuffing persons together.

       32.     The City Court clerk’s minute entries record when a person is sent to jail for non-

payment, noting that the person has failed to pay and is ordered to serve time in jail or to remain

in jail until a certain amount is paid. To illustrate, in the sample minutes below, Defendant Black

orders an individual to either serve “50 days default time” or pay $575.00 for not having proof of

insurance or a license plate:




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        33.     Any individual arrested for non-payment can be released from jail if the fine and

court costs are paid in full or if the individual serves the default time.

        34.     The City’s jail logs document the amount of money an individual must pay or the

amount of time the individual must serve to be released from jail. In the example below, an

individual was ordered to serve 160 days in jail unless he paid a $724 “cash fine”:




        35.     If an individual fails to appear at the pay date, Defendant Black issues an

attachment for the individual’s arrest and orders the individual to serve 15 days in jail or to pay a

$250 cash bond. In the sample below, Defendant Black sentenced an individual to a pay or stay

sentence of “15 days” in jail or a “$250.00 contempt fee”:




        36.     Defendant Black sometimes announces in open court when issuing such

attachments that a person that fails to appear to pay can “buy their way out of jail.”

        37.     Defendant Black’s announcement that a person can “buy their way out of jail” is

reflected in the jail logs. In the example below, an individual paid a fine of $250 to “shorten




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[her] sentence of 15 days”:




       C.      The Bogalusa City Court Substantially Relies on Court Costs and Fees to
               Fund its Court Operations.

       38.     The State of Louisiana does not have a unified funding system for the State’s

courts and does not oversee the budgets of city courts. Instead, as the Louisiana Supreme Court

reported to the Legislature in 2014, self-generated and local funds—not state funds—represent

the largest sources of revenue in the majority of courts.          As the Louisiana House of

Representatives has noted, city courts are funded through the use of court costs and fees that are

imposed on those persons appearing before the City Court.

       39.     The City Court’s operating expenses are paid through four sources of revenue: the

State of Louisiana, the Washington Parish Government, the City of Bogalusa, and the City Court

itself through assessments of certain costs and fees.

       40.     The funds the City of Bogalusa, Washington Parish, and the State of Louisiana

provide for the City Court, however, are insufficient to cover the City Court’s operating

expenses. The following table illustrates the City Court’s total revenue from the City, Parish,

and State (“Total Governmental Funding”); its total expenditures; its shortfall; and the shortfall

as a percentage of total expenditures, for 2009 to 2014:

               Bogalusa City Court Governmental Revenues and Expenditures
                                        2009-2014
   Year        Total Governmental Total             Shortfall    Shortfall as % of
               Funding              Expenditures                 Expenditures
   2009        $109,062             $161,310        $52,248      32.4%
   2010        $120,509             $176,171        $55,662      31.6%



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   2011        $210,049                 $280,043           $69,994        25%
   2012        $212,910                 $293,024           $80,114        27.3%
   2013        $253,641                 $364,000           $110,359       30.3%
   2014        $280,357                 $386,934           $106,577       27.5%

       41.     The remainder of the City Court’s operating expenses not funded by the

contributions of the State, Parish, and City are funded through court costs and fees collected in

criminal cases; court fees collected in civil cases; and reserves of these same fees collected in

prior years.

       42.     Defendant Black is authorized under multiple state statutes to assess a variety of

court costs in criminal cases. Although most of these court costs are disbursed to other entities,

Defendant Black is also authorized to assess up to $30 under La. Stat. Ann. § 13:1899 against

every defendant who is found guilty or forfeits his bond. This court cost is different than other

court costs because Defendant Black is authorized by state statute to keep and spend the money

generated under La. Stat. Ann. § 13:1899 to support the City Court’s operations.

       43.     As the top official of the City Court, Defendant Black, in his administrative and

executive capacity, has the sole discretion over how to spend the money generated under La.

Stat. Ann. § 13:1899.

       44.     In his administrative and executive capacity, Defendant Black has established a

practice of assessing $30 in some cases under La. Stat. Ann. § 13:1899 and $29.50 in other cases,

depending on the charge. He has created and authorized a case costs schedule for the City Court

that reflects whether to charge $30 or $29.50 based on the charge.

       45.     When imposing a monetary penalty, Defendant Black specifies a specific fine

amount and then refers generally to “costs.” The specific amount of costs is later assessed by a

court employee based on the schedule.

       46.     In his administrative and executive capacities for the City Court, Defendant Black



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has ordered the Clerk of Court to create a “judicial expense” account for the City Court and

instructed the clerks to deposit the statutory court costs under La. Stat. Ann. § 13:1899 into that

account. In addition to these costs, the judicial expense account consists of money collected

from extension fees and contempt fees for non-payment and failure to appear. No other sources

fund the City Court’s judicial expense account.

       47.     Costs assessed against criminal defendants comprise a substantial portion of the

City Court’s yearly operating budget. For example, the City Court generated nearly $57,000 for

its “judicial expense” account in 2014 through court costs assessed under La. Stat. Ann.

§ 13:1899, extension fees, and contempt fees for non-payment—an amount that represented

approximately 15% of the City Court’s operating budget. In 2015, the City Court generated even

more court-controlled revenue—at least $64,000 in judicial expense funds from court costs and

fees and at least $5,000 in extension fees—an amount that represented about 20% of the City

Court’s revenues and expenditures in its proposed operting budget.2

       48.     Defendant Black controls the judicial expense account in his executive and

administrative capacity for the City Court and has sole discretion under state law to determine

how these funds are allocated to pay for the City Court’s operating expenses.

       49.     If a person is unable to pay, Defendant Black possesses alternative tools to serve

the City Court’s peneoligical interests, including remitting some of the fines and court costs

assessed (including the court cost retained by the City Court pursuant to La. Stat. Ann. §

13:1899); collecting the fines and costs as a money judgment in a civil case rather than by using



2
  The City Court’s final operating budget—showing both proposed and actual income and
expenditures—is reflected in an annual audit report created by the Legislative Auditor’s office;
for fiscal year 2015 that audit report will likely be published in late July 2016.




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criminal sanctions; and creating alternative punishments. Defendant Black may not jail that

person for nonpayment without first finding that the nonpayment was willful.

       50.     The manner in which Defendants fund the City Court creates a structural conflict

of interest between Defendant Black’s duty to impartially adjudicate cases and his executive

responsibility to raise money to pay for the City Court’s operating expenses. The City Court

cannot operate if Defendant Black does not find defendants guilty and does not successfully

collect court costs and fees from a substantial number of individuals who appear before him.

       D.      The Bogalusa City Court Has Created an Illegal Extension Fee to Generate
               Additional Revenue.

       51.     In his executive and administrative capacities, Defendant Black created a $50

“extension fee” on behalf of the City Court. The money collected through this extension fee is

used to pay for the operations of the City Court.

       52.     The “extension fee” is not authorized by state law.

       53.     City courts are not authorized to create new court costs and fees under state law;

that authority is limited to the Louisiana State Legislature.

       54.     Through the creation of this fee, the City Court authorized Defendant Black,

acting in his judicial capacity, to offer a false choice to individuals who cannot pay fines and

court costs by the pay date: either (a) pay the extension fee by the end of the court session (or in

some cases, shortly after booking) and be granted additional time to pay the fines and court costs,

or (b) go to jail until all fines and costs are paid or the underlying sentence is served.

       55.     The $50 “extension fee” is not memorialized in an order because it is not actually

ordered by Defendant Black. Rather, it is treated by the City Court as an alternative collection

method, to permit the person to pay more in order to have additional time to try to pay the

monetary penalty.



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        56.     If a person is not able to pay the illegal $50 extension fee before the end of court,

she is processed into the jail. But if she obtains it shortly after being jailed, she may be permitted

to be released, as reflected in the jail records. For example, in the below jail log excerpt, the

person was jailed at 2:52pm and was released 19 minutes later, after paying the extension fee:




        57.     The money collected as an extension fee is not credited toward an individual’s

fines or court costs. Instead, it is treated as a separate and additional fee.

        58.     In 2015, the City Court collected the extension fee from at least 100 individuals,

netting at least $5,000 to pay for the City Court’s operating expenses.

        E.      Plaintiffs Ebony Roberts and Rozzie Scott Face Unconstitutional Treatment
                at Upcoming Court Dates and Have Been Subjected to Unconstitutional
                Policies and Practices in the Past.

                i.      Plaintiff Rozzie Scott

        59.     Plaintiff Rozzie Scott appeared in front of Defendant Black on May 12, 2016,

and was found guilty of stealing $5 worth of food from a local store to feed his family.

        60.     Defendant Black ordered Mr. Scott to pay a $450 fine plus costs on or before June

13, 2016.

        61.     Mr. Scott returned to the City Court on June 13, 2016, but did not have the

money to pay his fine and court costs. After telling Defendant Black that he could not pay,

Defendant Black asked him if he had $50 for an extension of time to pay the fine and costs.




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       62.     After Mr. Scott told Defendant Black that he did not have $50, Defendant Black

told Mr. Scott to sit in a chair on the side of the courtroom and wait for his arrest. Defendant

Black never asked him why he did not have the money or whether he was working.

       63.     While Mr. Scott waited, Defendant Black told other defendants that they would

go to jail if they could not pay the extension fee or their fines plus costs.

       64.     At the end of court, Mr. Scott was arrested and booked into the City jail, where he

spent about four hours until his cousin paid the $50 extension fee for his release.

       65.     After Mr. Scott was released from jail, he was told that he had to pay the fine plus

costs on or before July 25, 2016.

       66.     Mr. Scott faces an imminent threat that he will be jailed because he cannot afford

to pay the $450 fine plus costs that he owes the City Court on or before July 25, 2016.

       67.     Mr. Scott’s right to an impartial judge will be violated if he is forced to appear in

the City Court on July 25, 2016. The City Court’s unconstitutional funding structure creates an

appearance that Defendant Black cannot impartially adjudicate whether Mr. Scott willfully failed

to pay because Defendant Black has a financial interest in extorting money from him to pay for

the City Court’s continued operation.

               ii.     Plaintiff Ebony Roberts

       68.      Plaintiff Ebony Roberts appeared in front of Defendant Black on March 21,

2016, and pleaded guilty to speeding and driving without a license.

       69.     Defendant Black sentenced Ms. Roberts to pay a fine amount, plus costs on or

before April 25, 2016, for speeding and for driving without a license. She later learned it was a

total of about $367.50 in fines and court costs for the speeding ticket and $262.50 in fines and

court costs for the ticket for driving without a license.




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        70.     Ms. Roberts returned to the City Court on April 25, 2016, but did not have the

money to pay her fines and court costs. Defendant Black did not ask Ms. Roberts whether she

was working or why she could not pay. He did not offer her a payment plan or community

service. He told Ms. Roberts she had to pay the fines and costs or she would go to jail for not

paying her traffic tickets.

        71.     After Ms. Roberts paid the $50, she was ordered to return to the City Court on

June 13, 2016, to pay the fines and court costs on her two traffic tickets.

        72.     Ms. Roberts returned to the City Court on June 13, 2016, and paid $262.50 on her

ticket for driving without a license after borrowing the money from her family. However, she

did not have the money to pay her fine or court costs on the speeding ticket. Defendant Black

did not give Ms. Roberts an opportunity to tell him that she did not have any money and was just

trying to do her best to take care of her two-year-old daughter.

        73.     Before Ms. Roberts could say anything, Defendant Black told her “this was [her]

last extension.” A court employee then escorted her out of the courtroom to pay an additional

$50. There were so many people standing in line to pay the extension fee that there were even a

couple of people that could not fit in the courthouse and had to stand outside.

        74.     After Ms. Roberts told a court employee that she could not pay $50, he told Ms.

Roberts that she could not leave the City Court and would go to jail if she did not pay the money.

He ordered Ms. Roberts to go back into the courtroom where several other people were also

facing arrest for non-payment.

        75.     Ms. Roberts’s boyfriend left the City Court to get $50 as fast as he could to

purchase Ms. Roberts’s freedom. She now has until July 25, 2016, to pay the $367.50 she owes

the City Court or she will go to jail for not paying her traffic ticket.




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       76.     Ms. Roberts faces an imminent threat that she will be jailed because she cannot

afford to pay the $367.50 that she owes the City Court on or before July 25, 2016.

       77.     Ms. Roberts’s right to an impartial judge will be violated if she is forced to appear

in the City Court on July 25, 2016. The City Court’s unconstitutional funding structure creates

an appearance that Defendant Black cannot impartially adjudicate whether Ms. Roberts willfully

failed to pay because Defendant Black has a financial interest in extorting money from her to pay

for the City Court’s continued operation.

       F.      Plaintiffs Latasha Cook and Robert Levi Paid an Illegal $50 Extension Fee in
               Their Criminal Cases before a Judge with an Unconstitutional Conflict of
               Interest.

               i.      Plaintiff Latasha Cook

       78.     Plaintiff Cook appeared in front of Defendant Black on June 1, 2015 and pleaded

guilty to disturbing the peace.

       79.     Defendant Black sentenced Ms. Cook to a suspended sentence of 90 days in jail

with the condition that she pay a $300 fine plus court costs and complete substance abuse

treatment.

       80.     Ms. Cook returned to the City Court on July 13, 2015, but did not have the money

to pay the fine and court costs because she was unemployed and her only source of income at the

time was the disability check she received each month.

       81.     Defendant Black did not ask Ms. Cook why she did not have the money to pay

her fine and court costs. Instead, Ms. Cook paid the City Court the $50 extension fee to receive

additional time to pay the fine and court costs.

       82.     Ms. Cook has previously gone to jail because she did not have the money to pay

her fine and court costs. Judge Black asked Ms. Cook on that date whether she had $50 to pay




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for a new court date. Because she did not have $50 in her pocket, a marshal handcuffed Ms.

Cook and booked her into the City jail.

               ii.     Plaintiff Robert Levi

       83.     Plaintiff Levi appeared in front of Defendant Black in November 2015 and

pleaded guilty to running a stop sign and driving with expired insurance.

       84.     Defendant Black sentenced Mr. Levi to pay a $100 fine plus court costs and 30

days default time for driving with expired insurance and a $50 fine plus court costs and 15 days

default time for running a stop sign.

       85.     Mr. Levi returned to the City Court in January 2016, but did not have the money

to pay his fine and court costs. Judge Black did not ask him why he did not have the money at

his January 2016 court date. Instead, Mr. Levi observed two people arrested for not paying fines

and court costs. Mr. Levi was scared that he would go to jail, too, because he did not have the

money to pay his traffic tickets.

       86.     Mr. Levi overheard a city court employee tell a woman that she could pay an

additional $50 for an extension of time to pay instead of going to jail.

       87.     Mr. Levi agreed to pay $50 in addition to his fine and court costs because he

realized he would go to jail if he did not pay it. He had planned to use that money to pay for

other bills that day, which he was late paying after giving the money to the City Court.

       88.     Mr. Levi returned to the City Court in March 2016 to pay his fine and court costs,

but was $40 short of the amount he owed. He asked a city court employee outside of the

courtroom whether he could make a partial payment. The city court employee told him that

Judge Black “does not take partial payments” and that he “better call somebody!” because Judge

Black is “gonna lock you up!” if he did not come up with the remaining $40.




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        89.     Mr. Levi borrowed the outstanding $40 from a friend and paid his traffic tickets in

full to avoid going to jail.

                               V.       CLASS ALLEGATIONS

        90.     Plaintiffs seek to certify a Class and Subclass for equitable relief, and a separate

Class for damages.

        91.     Plaintiffs Roberts and Scott seek class certification pursuant to Fed. R. Civ. P.

23(a) and (b)(2), related to Claim One only. This class is defined as: All individuals who will

appear in the Bogalusa City Court for criminal cases or who have unpaid fines and costs assessed

by and owed to the City Court. This class is referred to as the “Structural Bias Equitable Class.”

        92.     Plaintiffs Roberts and Scott seek certification of a Subclass pursuant to Fed. R.

Civ. P. 23(a) and (b)(2), related to Claims Two, Three, Four and Six only. This subclass is

defined as: All individuals who were or will be adjudicated guilty in the Bogalusa City Court,

who have been or will be given a future date by which to return to City Court, and who have not

paid the assessed fines and costs in full prior to returning to City Court. This Subclass is referred

to as the “Pay Date Equitable Subclass.” All members of the Pay Date Equitable Subclass are

also members of the Structural Bias Equitable Class.

        93.     Plaintiffs Roberts, Scott, Cook, and Levi seek class certification pursuant Fed. R.

Civ. P. 23(a) and (b)(3), related to Claim Five only. This class is defined as: Any individual that

paid an extension fee between June 22, 2015 and the present. This class is referred to as the

“Extension Fee Damages Class.”

        94.     Rule 23(a)(1), Impracticability of Joinder: The precise size of the classes and

subclass are unknown by Plaintiffs but is substantial. The Structural Bias Equitable Class is

forward-looking and consists of persons appearing in approximately 3,000 criminal traffic and




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misdemeanor cases filed in the Bogalusa City Court per year. The Pay Date Equitable Subclass

is forward-looking and consists of persons who may be subjected to paying an illegal extension

fee or being put in jail for non-payment; in the past year this occurred to more than 40 persons.

The Extension Fee Damages Class consists of persons who paid the extension fee in the last

year, which occurred at least 100 times. Many classes and most subclasses are comprised of

low-income individuals who will likely lack independent resources to bring an independent

action or to be joined in this action. Joinder of every member of the class and the subclass would

be impracticable.

       95.     Rule 23(a)(2), Commonality: Plaintiffs raise claims based on questions of law and

fact that are common to, and typical of, the putative class members they seek to represent.

               a.     Questions of law and fact common to the Structural Bias Equitable Class

include:

                      i.      Whether the City Court has a policy of assessing either $30 or

$29.50 in court costs according to a fee schedule;

                      ii.     Whether court costs are imposed when individuals in the City

Court are adjudicated guilty but not when they are adjudicated not guilty;

                      iii.    Whether Defendant Black conducts an inquiry into abilty to pay

before ordering an individual to jail for non-payment of fines and court costs;

                      iv.     Whether judicial expense funds are used to pay for the City

Court’s operating and other expenses;

                      v.      What percentage of the City Court’s total budget is derived from

judicial expense funds;

                      vi.     Whether Defendant Black has control over the allocation of




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judicial expense funds in his executive capacity for the City Court;

                       vii.    Whether court costs, extension fees, and contempt fees are

deposited into the judicial expense account;

                       viii.   Whether the City Court created a $50 “extension fee;”

                       ix.     Whether the City Court permitted Defendant Black to offer to

some defendants the option of paying a $50 extension fee to buy their freedom and additional

time to pay their monetary penalties;

                       x.      Whether Defendant Black has a policy or practice of sentencing an

individual to serve 15 days in jail or to pay a $250 contempt fee if the individual fails to appear

to pay her fines and court costs;

                       xi.     Whether the City Court’s funding structure creates a structural

conflict of interest that violates due process; and

                       xii.    Whether injunctive and declaratory relief is appropriate and if so,

what the terms of such relief should be.

               b.      Questions of law and fact common to the Pay Date Equitable Subclass

include:

                       i.      Whether Defendant Black appoints counsel at pay date

proceedings or provides alternative safeguards;

                       ii.     Whether Defendant Black assesses a person’s ability to pay prior

to their jailing for non-payment;

                       iii.    Whether Defendant Black assesses alternatives to incarceration

prior to jailing persons for non-payment who were unable to pay;

                       iv.     Whether the City Court has a policy or practice of authorizing




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Defendant Black to offer to some defendants the option of paying a $50 extension fee to buy

their freedom and additional time to pay their monetary penalties;

                       v.       Whether Defendant Black assesses a person’s ability to pay prior

to offering a $50 extension fee to some people during pay dates;

                       vi.      Whether it is lawful for Defendant Black to order individuals to

jail for non-payment of fines and court costs without inquiring into, and making factual findings

about, an individual’s ability to pay;

                       vii.     Whether it is lawful for Defendant Black to threaten incarceration

but to permit individuals to pay a $50 extension fee to stay out of jail;

                       viii.    Whether it is lawful for Defendant Black to order individuals to

jail for non-payment of fines and court costs without providing counsel at the time of jailing, and

without providing any sort of notice regarding the purpose of the pay date hearing in advance of

said hearing or other procedural safeguards; and

                       ix.      Whether injunctive and declaratory relief is appropriate and if so,

what the terms of such relief should be.

               c.      Questions of law and fact common to the Extension Fee Damages Class

include:

                       i.       Whether court costs, extension fees, and contempt fees are

deposited into the judicial expense account;

                       ii.      Whether the City Court created a $50 “extension fee;”

                       iii.     Whether the City Court permits Defendant Black to offer to some

individuals the option of paying a $50 extension fee to buy their freedom and additional time to

pay their monetary penalties;




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                       iv.    Whether any state law authorizes the City Court to charge

individuals an extension fee in order to receive additional time to pay fines and court costs;

                       v.     Whether due process permits offering a choice between paying an

unauthorized extension fee or going to jail for non-payment; and

                       vi.    Whether damages are appropriate and if so, what the terms of such

relief should be.

       96.     Rule 23(a)(3), Typicality: The claims of Plaintiffs Roberts, Scott, Cook, and Levi

are typical of those asserted on behalf of the proposed classes and subclass. The injuries of

Plaintiffs Roberts, Scott, Cook, and Levi all arise out of Defendants’ policies, practices, and

customs.

       97.     Rule 23(a)(4), Adequacy: Plaintiffs Roberts, Scott, Cook, and Levi will fairly and

adequately protect the interests of the proposed classes and subclass. Plaintiffs are represented

by attorneys from the Southern Poverty Law Center, who have experience in class-action

litigation involving civil rights law, as well as experience litigating policies and practices in

municipal courts that are unconstitutional. Counsel has the resources, expertise and experience

to prosecute this action. Counsel knows of no conflict among members of the proposed class.

       98.     Rule 23(b)(2): Defendant Black has acted on grounds generally applicable to the

Structural Bias Equitable Class and Pay Date Equitable Subclass, making declaratory and

injunctive relief with respect to the class and subclass as a whole appropriate and necessary.

       99.     Rule 23(b)(3): The common questions of fact and law predominate over the

questions of law and fact affecting individual members of the Extension Fee Damages Class, and

a class action is a superior method to adjudicate these claims, making it appropriate to decide the

damages claims through the class mechanism. Particularly, the factual and legal questions




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surrounding the general policies and practices of the City Court apply equally to all members of

the Damages Class. Furthermore, class members have little ability to pursue these claims

individually, and it would be in the interest of judicial economy to adjudicate the

constitutionality of the City Court’s policies and practices in one proceeding.

                                  VI.       CLAIMS FOR RELIEF

                                      FIRST CLAIM FOR RELIEF
                            Fourteenth Amendment to the U.S. Constitution
                             (Structural Conflict of Interest – Due Process)
                 Plaintiffs Roberts, Scott, and the Structural Bias Equitable Class versus
                        Defendant Black in His Individual and Official Capacities

          100.     Plaintiffs re-allege and incorporate by reference each and every allegation

contained in the preceding paragraphs as if fully set forth herein.

          101.     The Due Process Clause requires Defendant Black to impartially adjudicate cases

as well as maintain the appearance of impartiality.

          102.     Defendant Black exercises judicial functions when presiding over cases in the

City Court and executive functions over the City Court’s finances and collection practices.

          103.     Defendant Black, in his administrative and executive role, has the duty to create a

budget and to raise money to pay for the City Court’s operating expenses, and he has the ultimate

discretion and control over spending court costs, extension fees, and contempt fees deposited

into the judicial expense account.

          104.     Defendant Black, in his executive and administrative role, and as the final

policymaker for the City Court, established a policy, practice, or custom of creating a budget that

relies on judicial expense funds to make up a substantial part of the City Court’s budget. This

policy, practice, or custom is the moving force behind the violations of Plaintiffs’ constitutional

rights.




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       105.    The manner in which the City Court is funded creates a structural conflict of

interest between Defendant Black’s duty to impartially adjudicate cases and his executive

responsibility to raise money to pay for the City Court’s operating expenses, in violation of the

Due Process Clause of the Fourteenth Amendment of the U.S. Constitution.

       106.    There is an on-going controversy between Plaintiffs Roberts and Scott and

Defendant Black. Plaintiffs are scheduled to appear in the City Court in the future, and will

appear before a judge with a structural conflict of interest. The City Court’s funding structure

creates an appearance that Defendant Black cannot impartially adjudicate whether Plaintiffs

Roberts and Scott willfully failed to pay because Defendant Black has a financial interest in

extorting money from them to pay for the City Court’s continued operation.

       107.    Accordingly, pursuant to 28 U.S.C. §§ 2201–2202 and 42 U.S.C. § 1983,

Plaintiffs Roberts and Scott, on behalf of themselves and the Structural Bias Equitable Class,

seek a declaration and injunction against Defendant Black in his individual and official

capacities to prevent future injury resulting from the conflict of interest created by Defendant

Black acting under color of law in his individual and official capacities.

                               SECOND CLAIM FOR RELIEF
                        Fourteenth Amendment to the U.S. Constitution
                  (Bearden Violation — Due Process and Equal Protection)
              Plaintiffs Roberts, Scott, and the Pay Date Equitable Subclass versus
                   Defendant Black in His Individual and Official Capacities

       108.    Plaintiffs re-allege and incorporate by reference each and every allegation

contained in the preceding paragraphs as if fully set forth herein.

       109.    The Fourteenth Amendment’s Due Process and Equal Protection Clauses prohibit

incarcerating individuals for nonpayment without first determining that they willfully refused to

make a monetary payment.




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       110.    There is an on-going controversy between Plaintiffs Roberts and Scott and

Defendant Black. Plaintiffs are scheduled to appear in the City Court in the future and will likely

be unable to pay their monetary penalties. Pursuant to his practice, Defendant Black will likely

fail to make an inquiry into Plaintiffs’ ability to pay before sentencing them to jail for non-

payment.

       111.    Plaintiffs Roberts and Scott, as well as those similarly situated, will be subject to

confinement and other imminent injury in the future if Defendant Black’s policies, practices, and

customs are not declared to be unconstitutional.

       112.    Declaratory relief is likely unavailable because Plaintiffs Roberts and Scott are

required to appear in the City Court on July 25, 2016. There will likely not be sufficient time

before their July 25, 2016 hearing for this Court to reach a final determination on Plaintiffs’

declaratory judgment claim. As such, Plaintiffs Roberts and Scott, as well as those similarly

situated, alternatively seek a preliminary injunction to protect them from the injuries that will be

caused by Defendant Black’s unconstitutional policies, practices, and customs.

       113.    Accordingly, pursuant to 28 U.S.C. §§ 2201–2202 and 42 U.S.C. § 1983,

Plaintiffs Roberts and Scott, on behalf of themselves and the Pay Date Equitable Subclass, seek a

declaration, or if unavailable, a preliminary injunction, to prevent future injury caused by

Defendant Black acting under color of state law in his individual and official capacities.

                                 THIRD CLAIM FOR RELIEF
                        Fourteenth Amendment to the U.S. Constitution
                               (Right to Counsel – Due Process)
              Plaintiffs Roberts, Scott, and the Pay Date Equitable Subclass versus
                   Defendant Black in His Individual and Official Capacities

       114.    Plaintiffs re-allege and incorporate by reference each and every allegation

contained in the preceding paragraphs as if fully set forth herein.




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        115.    There is an on-going controversy between Plaintiffs Roberts and Scott and

Defendant Black. Plaintiffs are scheduled to appear in the City Court in the future, and will

likely be unable to pay their monetary penalties. Pursuant to his practice, Defendant Black will

likely fail to appoint counsel or provide alternative safeguards before requiring them to pay an

illegal $50 extension fee or ordering them to jail for non-payment. Defendant Black also will not

provide notice to Plaintiffs that their ability to pay will be a critical issue in these proceedings.

        116.    The practices described in the previous paragraph constitutes a violation of the

Fourteenth Amendment’s Due Process Clause.

        117.    Plaintiffs Roberts and Scott, as well as those similarly situated, will be subject to

payment of an illegal fee, confinement, and other imminent injury in the future if Defendant

Black’s policies, practices, and customs are not declared to be unconstitutional.

        118.    Pursuant to 28 U.S.C. §§ 2201–2202 and 42 U.S.C. § 1983, Plaintiffs Roberts and

Scott, on behalf of themselves and the Pay Date Equitable Subclass, seek a declaration to prevent

future injury caused by Defendant Black acting under color of state law in his individual and

official capacities.

                               FOURTH CLAIM FOR RELIEF
                        Fourteenth Amendment to the U.S. Constitution
                                    (Substantive Due Process)
                  Plaintiffs Roberts, Scott, and the Pay Date Equitable Subclass
                 versus Defendant Black in His Individual and Official Capacities

        119.    Plaintiffs re-allege and incorporate by reference each and every allegation

contained in the preceding paragraphs as if fully set forth herein.

        120.    The Fourteenth Amendment prohibits the government from depriving someone of

liberty or property in an arbitrary or capricious manner.

        121.    Defendant Black, in his executive and administrative role, and as the final




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policymaker for the City Court, established a policy, practice, or custom of creating an

“extension fee” that persons could pay in order to avoid going to jail. This policy, practice, or

custom is the moving force behind the violations of Plaintiffs’ constitutional rights.

       122.    Defendant Black’s policies, practices, customs, acts, and omissions risk

conditioning Plaintiffs Roberts’ and Scott’s liberty on paying an illegal extension fee to the City

Court’s judicial expense account.

       123.    Conditioning an individual’s liberty on the payment of the extension fee is

arbitrary and capricious because there is no statutory or other authority for the extension fee, in

violation of the Due Process Clause of the Fourteenth Amendment.

       124.    There is an on-going controversy between Plaintiffs Roberts and Scott and

Defendant Black. Plaintiffs are scheduled to appear in the City Court in the future, and will

likely be unable to pay their monetary penalties. Pursuant to his practice, Defendant Black will

likely order Plaintiffs to jail for non-payment if they fail to pay the $50 extension fee.

       125.    Plaintiffs Roberts and Scott, and those similarly situated, will be subject to

confinement and imminent injury if Defendants’ policies, practices, and customs are not declared

to be unconstitutional.

       126.    Plaintiffs Roberts and Scott, on behalf of themselves and the Pay Date Equitable

Subclass bring this claim pursuant to 28 U.S.C. §§ 2201–2202 and 42 U.S.C. § 1983 for actions

taken by Defendant Black under color of state law and seek a declaration against Defendant

Black in his individual and official capacities to prevent future injury.




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                                  FIFTH CLAIM FOR RELIEF
                       Fourteenth Amendment to the U.S. Constitution
                          (Extension Fee — Procedural Due Process)
       Plaintiffs Roberts, Scott, Cook, Levi, and the Extension Fee Damages Class versus
         Defendants Bogalusa City Court and Defendant Black in his Official Capacity

       127.    Plaintiffs re-allege and incorporate by reference each and every allegation

contained in the preceding paragraphs as if fully set forth herein.

       128.    Defendant Black, in his executive and administrative role, and as the final

policymaker for the City Court, established a policy, practice, or custom of creating an

“extension fee” that persons could pay in order to avoid going to jail. This policy, practice, or

custom is the moving force behind the violations of Plaintiffs’ constitutional rights.

       129.    Defendant Black, in his judicial capacity, utilizes this policy, practice, or custom

to deprive individuals of their property in a manner not authorized by state law by having them

pay a $50 extension fee to Defendant City Court to avoid going to jail for non-payment of their

monetary penalties.

       130.    Plaintiffs Roberts, Scott, Cook, and Levi and the proposed Extension Fee

Damages Class have paid the extension fee to the City Court.

       131.    Plaintiffs Roberts, Scott, Cook, and Levi and the proposed Extension Fee

Damages Class have a property interest in the extension fee they paid to the City Court.

       132.    Defendants deprived Plaintiffs of their property in a manner not authorized by

state law by having them pay a $50 extension fee to avoid going to jail for non-payment of their

monetary penalties.

       133.    Plaintiffs Roberts, Scott, Cook, and Levi, on behalf of themselves and the

Extension Fee Damages Class, bring this claim pursuant to 42 U.S.C. § 1983 for actions taken by

Defendant Black under color of state law and seek an award of damages for their injuries from




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Defendant Bogalusa City Court and Defendant Black, sued in his official capacity, by charging

Plaintiffs the illegal extension fee.

                                      SIXTH CLAIM FOR RELIEF
                             Fourteenth Amendment to the U.S. Constitution
                               (Extension Fee — Procedural Due Process)
                   Plaintiffs Roberts, Scott, and the Pay Date Equitable Subclass versus
                        Defendant Black in his Individual and Official Capacities

        134.    Plaintiffs re–allege and incorporate by reference each and every allegation

contained in the preceding paragraphs as if fully set forth herein.

        135.    Defendant Black, in his executive and administrative role, and as the final

policymaker for the City Court, established a policy, practice, or custom of creating an

“extension fee” that persons could pay in order to avoid going to jail. This policy, practice, or

custom is the moving force behind the violations of Plaintiffs’ constitutional rights.

        136.    Defendant Black, in his judicial capacity, utilizes this policy, practice, or custom

to deprive individuals of their property in a manner not authorized by state law by having them

pay a $50 extension fee to Defendant City Court to avoid going to jail for non-payment of their

monetary penalties.

        137.    There is an on-going controversy between Plaintiffs Roberts and Scott and

members of the Pay Date Equitable Subclass and Defendant Black. Plaintiffs are scheduled to

appear in the City Court in the future and will likely be unable to pay their monetary penalties.

Pursuant to the City Court’s practice, Defendant Black is authorized to and likely will offer

Plaintiffs and the Subclass a false choice: either pay the illegal $50 extension fee or go to jail.

        138.    Plaintiffs Roberts and Scott have a property interest in the $50 extension fee they

will be asked to pay pursuant to the Bogalusa City Court policy.

        139.    Plaintiffs Roberts and Scott, as well as those similarly situated, will be subject to




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payment of an illegal fee, in the future if Defendant’s policies, practices, and customs are not

declared to be unconstitutional.

       140.    Pursuant to 28 U.S.C. §§ 2201–2202 and 42 U.S.C. § 1983, Plaintiffs Roberts and

Scott, on behalf of themselves and the Pay Date Equitable Subclass, seek a declaration and an

injunction, to prevent future injury caused by Defendant Black acting under color of state law in

his individual and official capacities.

                              VII.        PRAYER FOR RELIEF

WHEREFORE, Plaintiffs request the following relief:

        a.     Assume jurisdiction over this action;

        b.     Certification of a class, referred to above as the Structural Bias Equitable Class,

under Rules 23(a) and (b)(2) of the Federal Rules of Civil Procedure, represented by Plaintiffs

Roberts and Scott, related to Claim One;

        c.     Certification of a subclass, referred to above as the Pay Date Equitable Subclass,

under Rules 23(a) and (b)(2) of the Federal Rules of Civil Procedure, represented by Plaintiffs

Roberts and Scott, related to Claims Two, Three, Four, and Six;

        d.      Certification of a class, referred to above as the Extension Fee Damages Class,

under Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure, represented by Plaintiffs

Roberts, Scott, Cook, and Levi, related to Claim Five;

        e.     Declaratory and injunctive relief;

        f.     Compensatory damages;

        g.     An award of prevailing party costs, including attorney fees, for Counts One, Four,

Five and Six; and

       h.      Such other relief as the Court deems just and appropriate.




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DATED this 21st day of June, 2016.     Respectfully submitted,

                                        /s/ Ivy Wang
                                       Ivy Wang
                                       On Behalf of Plaintiffs’ Counsel

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                                       *application for pro hac vice pending

                                       Attorneys for Plaintiffs




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                               CERTIFICATE OF SERVICE

        I hereby certify that arrangements have been made to, on this date, deliver a true and
correct copy of the foregoing by hand delivery to the following parties, at the below addresses:

       Robert J. Black
       302 Louisiana Ave
       Bogalusa LA, 70427

       Bogalusa City Court
       c/o Tonia DeLeon, Clerk of Court
       202 Arkansas Ave
       Bogalusa, LA, 70427

Formal proof of service will be filed with the Court when completed.

       I further certify that arrangements have been made to, on this date, deliver a true and
correct courtesy copy of the foregoing to the City Attorney for Bogalusa and the Attorney
General at the below addresses:

       Jeff Landry, Attorney General
       Office of the Attorney General
       P.O Box 94005
       Baton Rouge, LA 70804

       Dale Edgar Branch, Bogalusa City Attorney
       1743 Goodyear Dr
       Bogalusa LA, 70427-4020
       debranch@bellsouth.net

DATED this 21st day of June, 2016.           /s/ Ivy Wang
                                            Ivy Wang




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